Case 2:16-cv-02913-cgc_ Document 1-1 Filed 11/22/16 Pagelof6é PagelD6

 

EXHIBIT A

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+O THE CHANCELLORS OF THE CHANCERY COURT/” FER 9 4 20)6 | |
FOR THE THIRTIETH JUDICIAL DISTRICT AT MEMPI Is |
IDONNA L. RUSSELL, C 8

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CaseNo. ({t - |W O4\|

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Vs. i-

Plaintiff,

BANK OF AMERICA, NA., SUCCESSOR BY

MERGERTO BAC HOME LOANS SERVICING.

LP FKA COUNTRYWIDE HOME LOANS

SERVICING, LP, CARRINGTON MORTGAGE SERVICES, LLC

Defendant

 

 

PETITION TO SET ASIDE FORECLOSURE AND FOR INJUNCTIVE RELIEF

 

Comes now the above-styled Plaintiff and sues the above-styled Defendants and would

state for cause of action the following:

JURISDICTION

I The Plaintiff is a resident of Memphis, Shelby County Tennessee and owns
property in Shelby County, Tennessee that is the subject of this cause of
action,

2. The Defendant. Bank of America. is a legal resident of the State of California.

3. The Defendant, Carrington Mortgage Services, is a legal resident of the State
of California,

4. Therefore, jurisdiction and venue are proper in this court regarding the

property rights in Shelby County, Tennessee, property of the Plaintiff.

 
Case 2:16-cv-02913-cgc Document1-1 Filed 11/22/16 Page2of6 PagelD7

FACTUAL ALLEGATIONS

In October 2005, Plainuff purchases 4573 Fawn Hollow Cove, Memphis. TN

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property for $90,250.00 loan number G08883/7/4: Argent Mortgage

Company. LLC., Citi Residential Lending INC.

 

6. On January 10, 2008, Plaintiff refinances her mortgage to an escrowed FHA
loan number 2/0/05 for $95,247.00 with Community Mortgage Company,
with no prepayment penalty, & FHA MIP insurance, Only one mortgage
payment was paid to Community Mortgave in the amount of $825.00.

7. Around March 2008. the loan was sold to Countrywide Home Loans. loan
number /74549233. Countrywide immed:ately began to increase the monthly
payments on a fixed mortgage.

8. Plaintiff lost her job due to an on the job injury in June 2008. She received
short term and then long term disability that was terminated after she filed a
discrimination lawsuit against her former employer. Plaintiff got behind on
her payments and tried to work with Countrywide to get modification but was
continually refused.

9. In June 2008, Bank of America merges services with Countrywide Home
Loans.

10, The property value was reduced to $63.400 after the city’s appraisal in 2009

11. Because of a domestic violence situation, Plaintiff changed her address to a

P.O. Box, but remained living in the Fawn Hollow Cove house.

Bank of America improperly foreclosed without Plaintiff notification and put

house up for sale in March 2011. Plaintiff receives a settlement payment from

Fund [Independent Foreclosure Review as a result of the agreement Bank of

America entered with the federal banking regulators-the office of Comptroller

of the Currency and the Board of Governors of the Federal Reserve System.

13. In April 10, 2013, Plaintiff receives notice from Bank of America that her
loan would be transferred to Carrington Mortgage Services, LLC effective
May 01, 2013, but they never actually released the loan to Carrington

according to the Shelby County Registry ef Deeds.

 
Case 2:16-cv-02913-cgc Document1-1 Filed 11/22/16 Page3of6 PagelD8&

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In May 2013, Plaintiff receives a mortgage statement from Carrington
Mortgage Services loan number 7000046/85, The balance forwarded from
Bank of America was $35, 244.06: including late fees & default costs. To date
Bank of America has provided deficient mortgage services and foreclosure
processes. They have denied all foreclosure prevention benefits entitled as
well as predatory lending practices and accounting.

In October 2013, Plaintiff received a Keep My Tennessee Home Grant in the
amount of $39,844.00; the amount the defendant claimed Plaintiff was
delinquent on her FHA mortgage loan. This money was a one time payment
to reinstate the mortgage and take it out of default but it was never taken out
of default,

$39,844.00 is paid directly to Carrington on the behalf of the Plaintiff that was
intended to be applied to the mortgage as reinstatement of the mortgage loan
and a protection lien was place on the property fora five year Making Home
Affordable Period in November 2013. The loan will be completely forgiven
as long as Plaintiff remains in the home for the next five years,

On December 12, 2013, Tennessee Housing Development Ageney (THDA)
conducts an audit verifying that the Plaintiff in fact remained in the property
4573 Fawn Hollow Cove although she had a separate mailing address which is
a Post Office Box.

Plaintiff receives letter from Carrington Mortgage Services stating that the
December payment expected was $911.92 total this included late fee and an
increased mortgage payment in December 2013. The loan was still in default
at this rate.

Plainiff remained under the care of a physician in January and notified
Carrington that she was unable to make payment and requests morigave
assistant for foreclosure prevention, but to no avail.

On October 27, 2014, a Detainer Warrant was placed on the Plaintiffs door.
A judgment was entered against Plaintiff even though she was under a
Chapter 13 bankruptey. Plaintiff appealed to Circuit Court and the matter was

ordered back to General Sessions and is still pending.

 

 
Case 2:16-cv-02913-cgc Document1-1 Filed 11/22/16 Page4of6 PagelD9

 

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y reported false information to the IRS that Plaintiff had

Carrington willing!
abandoned her property in December 2014, although they were properly
informed that she remained in the home.

Kalsified documentation were submitted te the Shelby County Register of
Deeds, that led to the transfer of Plaintiff's property out of her name while a
pending appeal from General Sessions in Shelby County was filed in Circuit
Court.

Several Chapter 13 Bankruptcy cases were opened by Plaintiff in an effort to
get some relief and Defendants deceived tie Bankruptey Court by alleging
Yaintiff was not interested in keeping her property and seeking an FED when
they knew Plaintiff had fled bankruptcy.

In August 2015 the Plaintiff had physical damage to her roof, The damage
was inspected and a partial check of $1.9§2.30 was made out to the Plaintl?
and her mortgage company, Carrington Mortgage Services. CMS received the
entire check after the Defendant endorsed the check over to the mortgage
company and they placed it in a separate escrow account until the repairs were
completed and the funds were to be released for payment. The repairs were
completed in September, However, Carrington only released $660.77 for
payment. They kept $1,321.53 and did not apply it to the mortgage balance
nor did they take the loan out of default.

Carrington did not pay Plaintiff's homeowners insurance that is escrowed into
the mortgage payments.

The Plaintiff is entitled to have the any foreclosure set aside because of the
fraud of the defendant. its servants and agents. More particularly and
according to Tennessee Rules of Civil Procedure Rule 9, Defendant ts lable
for the following acts of fraud:

The Plaintiff is entitled to injunctive relief to prohibit the alienation of the
property by the defendant. The Plainti{fis also entitled to injunctive relief to
prohibit the issuance of any Writ of Possession for the 4573 Fawn Hollow

Cove property by any party.

 

 
Case 2:16-cv-02913-cgc Document 1-1 Filed 11/22/16 Page5of6 PagelD 10

 

 

 

 

 

 

28.

The Plaintiff is entitled to have the homeowner's insurance policy reinstated

for the property while the issues are being litigated.

PREMISES CONSIDERED, THE PLAINTIFF PRAYS FOR RELIEF AS FOLLOWS:

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‘That process issue and be served with a copy of this Complaint to the Defendants
and the legal representation of the Defendants in the General Sessions Court FED
cause of action against the Plaintiff,

That. afier notice and a hearing. the Defendants and their servants and agents be
enjoined from alienating the property of the Plaintiff.

That the Court set aside any foreclosure of for the 4573 Fawn Hollow Cove,
Memphis, Tennessee property.

That this case be referred for Rule 31 Mediation,

THIS IS THE FIRST APPLICATION POR INJUNCTIVE RELETER IN THIS
CAUSE OF ACTION.

Respectfully submitted,

 

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Case 2:16-cv-02913-cgc Document1-1 Filed 11/22/16 Page6of6é PagelD 11

 

 

 

 

 

CERTIFICATE OF SERVICE
We do hereby certify that a true and correct copy of the foregoing Petition To Set
Aside Foreclosure And For Injunctive Relief has been sent via U.S. Mail, postage
prepaid, to all defendants.

This the _ day of __, 2018.

 

Kelly Pearson

 
